                   Case 2:22-cv-00555-RSM Document 33 Filed 10/03/22 Page 1 of 3




 1                                                              The Honorable Ricardo S. Martinez

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 7                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
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     QUINTE HARRIS, an individual,
 9                                                    Case No. 2:22-cv-00555RSM
                          Plaintiff,
10                                                    ORDER GRANTING STIPULATED
              v.                                      MOTION TO EXTEND PRETRIAL
11                                                    DEADLINES
     SKANSKA USA BUILDING INC.,
12   SKANSKA BALFOUR BEATTY JV,
     MICROSOFT CORPORATION, and
13   BALFOUR BEATTY CONSTRUCTION                      NOTED FOR CONSIDERATION:
     LLC, corporations,                               September 29, 2022
14
                          Defendants.
15

16            THIS MATTER, having come before the undersigned judge of the above-entitled Court
17   based on the foregoing stipulated motion, IT IS HEREBY ORDERED that the following pretrial
18   deadlines in this matter are hereby EXTENDED as follows:
19    Event                                         Current Date       New Date
                                                    9/22/2022          14 days after Court’s ruling
20    Deadline for FRCP 26(f) Conference                               on ECF No. 23

      Initial Disclosures Pursuant FRCP 26(a)(1) due 9/29/2022
21                                                                     21 days after Court’s ruling
                                                                       on ECF No. 23
22
      Combined Joint Status Report and Discovery 10/6/2022             28 days after Court’s ruling
                                                                       on ECF No. 23
23    Plan as Required by FRCP 26(f) and Local Civil
      Rule 26(f) due
24
     //
25
     //
26

     ORDER GRANTING STIP MOTION                                                LITTLER MENDELSON, P.C.
                                                                                     Attorneys at Law
     TO EXTEND PRETRIAL DEADLINES - 1                                               One Union Square
                                                                             600 University Street, Suite 3200
                                                                             Seattle, Washington 98101.3122
                                                                                       206.623.3300
             Case 2:22-cv-00555-RSM Document 33 Filed 10/03/22 Page 2 of 3




 1          DATED this 3rd day of October, 2022.

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 4                                                 A
                                                   RICARDO S. MARTINEZ
 5                                                 UNITED STATES DISTRICT JUDGE

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     Presented by:
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12

13   /s/Thomas P. Holt
     Thomas P. Holt, WSBA # 39722
14   tholt@littler.com
     Breanne F. Lynch, WSBA # 55242
15   blynch@littler.com
     Jacqueline E. Kalk, pro hac vice
16   jkalk@littler.com
     LITTLER MENDELSON, P.C.
17   One Union Square
     600 University Street, Suite 3200
18   Seattle, WA 98101.3122
     Phone: 206.623.3300
19   Fax: 206.447.6965
20

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22

23

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     ORDER GRANTING STIP MOTION                                      LITTLER MENDELSON, P.C.
                                                                           Attorneys at Law
     TO EXTEND PRETRIAL DEADLINES - 2                                     One Union Square
                                                                   600 University Street, Suite 3200
                                                                   Seattle, Washington 98101.3122
                                                                             206.623.3300
                 Case 2:22-cv-00555-RSM Document 33 Filed 10/03/22 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2            I am a resident of the State of Washington, over the age of eighteen years, and not a party to

 3   the within action. My business address is One Union Square, 600 University Street, Ste. 3200,

 4   Seattle, WA 98101. On September 29, 2022, I filed the foregoing document with the Clerk of the

 5   Court via the CM/ECF system, which will give notice of such filing to the following:

 6   Attorneys for Plaintiff                            Attorneys for Defendant Microsoft Corp.
 7   John Cochran, WSBA #38909                          Heidi B. Bradley, WSBA #35759
     PACIFIC PROPERTY LAW LLC
 8   1367 North Falcon Drive                            Bradley Bernstein Sands LLP
     Ridgefield, WA 98642                               113 Cherry St. PMB 62056
 9   Tel: (360) 601-8157                                Seattle, WA 98104-2205
     johnpplllc@gmail.com                               Tel: 206-337-6551
10                                                      hbradley@bradleybernsteinllp.com
     Caroline Janzen, pro hac vice
11   JANZEN LEGAL SERVICES LLC
     4550 SW Hall Blvd.
12   Beaverton, OR 97005
     Tel: (503) 520-9900
13   caroline@ruggedlaw.com
14            I declare under the penalty of perjury under the laws of the State of Washington that the
15   above is true and correct.
16            Executed on September 29, 2022, at Seattle, Washington.
17
                                                    /s Karen Fiumano Yun
18                                                  Karen Fiumano Yun
                                                    kfiumano@littler.com
19                                                  LITTLER MENDELSON, P.C.
20   4895-7939-9988.1 / 115260-1001

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     ORDER GRANTING STIP MOTION                                                      LITTLER MENDELSON, P.C.
                                                                                           Attorneys at Law
     TO EXTEND PRETRIAL DEADLINES - 3                                                     One Union Square
                                                                                   600 University Street, Suite 3200
                                                                                   Seattle, Washington 98101.3122
                                                                                             206.623.3300
